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                    EXHIBITE
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         SUPREME COURT OF THE STATE OF N EW YORI<
         COUNTY OF NEW YORK.: PART 61


                                                                              '
         THE PEOPLE OF THE STATE OF NEW                                       ! RECOMMENDATION OF
                                                                              '
         YORK                                                                 ! DISMISSAL

                                     -against-                                      Indictment No. 423/2012
                                                                              ''
         ROYCE CORLEY,                                                         ''
                                                                              I
                                                                              I
                                                                              I
         -----···-----------------------------------------~~-~~~~~-1?-!: .... J


                  Gregory Weiss, an attorney admitted to practice before the Courts of this State,

         affirms under penalty of perjury that:

                  I am an Assistant District Attorney in the office of CYRUS R. VANCE,

         District Attorney for the County of New York As the Assistant District Attorney

         assigned to the prosecution of the above-captioned case, I am familiar with its facts

         and circumstances based upon review of the case file, conversations with other law

         enforcement personnel assigned to the case, and participation in proceedings related

         to the case.

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         dismissal of New York County indictment number 423/2012.
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                                  TNDl TMENT

      New York County indictment number 423/2012 was ftled on January 26, 2012,

charging the defendant with two counts of Promoting Prostitution in the Third Degree

in violation of Penal Law§§ 230.25(1) and 230.25(2), respectively. More specifically, it

is charged that on January 12, 2012, at approximately 6:00 p.m., in the vicinity of 335

East 21st Street, New York, New York, the defendant knowingly advanced and profited

from prostitution by managing, supervising, controlling, and owning, either alone or in

association with others, a prostitution business and enterprise involving prostitution

activity by two or more prostitutes, and the defendant knowingly advanced and profited

from prostitution of a person who was less than nineteen years old.



                                    EVIDENCE

      In the fall of 2011, the New York City Police Department ("NYPD") received

information that the defendant, also known as "Ron Iron," was promoting the

prostitution of young women. Thereafter, in an investigation conducted jointly by the

NYPD Major Case Detective Squad and the New York County District Attorney's

Office, evidence was obtained demonstrating the defendant's involvement in

promoting prostitution of a number of young women, including at least two of whom

were less than nineteen years of age. This evidence includes phone records, financial
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records, internet protocol address and history records, witness testimony, items of

physical evidence recovered from the defendant at the time of his arrest, and items of

physical evidence recovered during the execution of search warrants at the

defendant's residence and other locations.



                         PROCED. lllALHJST RY

      On January 25, 2012, the defendant was arrested by the Vice Enforcement

Division of the Major Case Detective Squad of the NYPD.

      On January 26, 2012, the defendant was arraigned on a felony complaint and

bail was set at $200,000 bond or $100,000 cash.

      On January 26, 2012, a grand jury filed New York County Indictment number

423/2012, charging the defendant with two counts of Promoting Prostitution in the

Third Degree in violation of Penal Law§§ 230.25(1) and 230.25(2), respectively.

      On February 15, 2012, the defendant was arraigned on New York County

Indictment number 423/2012 before the Honorable Bonnie Wittner, Justice of the

Supreme Court of the State of New York, New York County, Part 61, where the

defendant entereCl-a plea of not guilty. On that date the Court reviewed   ana modified
the defendant's bail to $50,000 bond or $25,000 cash, on which the defendant has

remained incarcerated.
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                         PRIOR CRIMINAL RECORD

       The defendant has no prior criminal convictions.



                           RE OMMENDATI N

       For the following reasons, the People recommend that New York County

Indictment number 423/2012 be dismissed.

       I am informed by Assistant United States Attorney Tatiana Martin of the Office

of the United States Attorney for the Southern District of New York ("AUSA Martins")

that an indictment entitled United States v. Royce Corley a/k/a "Ron Iron", 13 Cr.

048 OGK), dated January 22, 2013, has been filed in United States District Court for the

Southern District of New York charging the defendant with two counts of Sex

Trafficking of a Minor, in violation of 18 United States Code, Sections 1591(a) &

(b)(2). AUSA Martins also informs me that the subject matter of the federal indictment

includes the criminal conduct charged under New York County indictment 423/2012.

       Under the double jeopardy provisions of Criminal Procedure Law §40.20, any

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County indictment 423/2012.             See, People v. Abbamonte, 43            N.Y.2d 72

(1977)(interpreting C.P.L. §40.20[2], a state prosecution is barred whenever "the
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particular activity for which the State seeks to hold defendants responsible were or could

have been alleged to support" previous federal charges.)         Although there are liinited

exceptions to the double jeopardy prohibition of Criminal Procedure Law §40.20(2),

these exceptions do not appear to be applicable in this particular instance. Therefore,

any disposition of the federal indictment filed against the defendant will bar subsequent

proceedings upon New York County indictment 423/2012 by operation oflaw.

       Moreover, I am informed by A USA Martins that if convicted as charged under

the pending federal indictment, the defendant will receive a prison term of no less than

ten years, and faces an authorized sentence of life in prison. If convicted as charged

under New York County Indictment number 423/2012, however, the defendant faces

no mandatory minimum sentence and a maximum authorized sentence of two and one-

third to seven years in prison on each count.

       In sum, subsequent proceedings upon New York County indictment 423/2012

will be barred by any disposition of the defendant's pending federal indictment. In

addition, based upon the seriousness of the defendant's criminality including his

victimization of young women, this Office submits that the greater scope of punishment

available by law upon conviction of the defendant under the federal indictment renders

the United States District Court for the Southern District of New York the more

appropriate forum for prosecution in this particular instance.

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                               CONCLUSION

         For the these reasons, as such other reasons as the Court deems fit and proper,

the People respectfully recommend the dismissal of New York County Indictment

number 423/2012.

         No previous recommendation in this case has been made to any Justice of this

Court.

Dated:     January 31, 2013
           New York, New York

                                           Respectfully submitted,


                                          /~~~~~~~~~~~~
                                           Gregory Weiss
                                           Assistant District Attorney
                                           212-335-4382




John T ~.npl
Assi tant District Attorney                            Assistant District Attorney
Attorney-In-Charge, Human Trafficking Program          Deputy Chief, Trial Division
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            SUPREME COURT OF THE STATE OF NEW YORK_
                     COUNTY OF NEW YORK_



              THE PEOPLE OF THE STATE OF NEW YORK_

                                  -against-

                             ROYCE CORLEY,

                                Defendant.



                  DISMISSAL ON RECOMMENDATION

                       INDICTMENT NO. 423/2012




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